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                                                           1 ANDREW P. BRIDGES (CSB No. 122761)
                                                             abridges@fenwick.com
                                                           2 ILANA RUBEL (CSB No. 221517)
                                                             irubel@fenwick.com
                                                           3 TODD R. GREGORIAN (CSB No. 236096)
                                                             tgregorian@fenwick.com
                                                           4 KATHLEEN LU (CSB No. 267032)
                                                             klu@fenwick.com
                                                           5 FENWICK & WEST LLP
                                                             555 California Street, 12th Floor
                                                           6 San Francisco, CA 94104
                                                             Telephone: 415.875.2300
                                                           7 Facsimile: 415.281.1350
                                                           8 Attorneys for Defendants
                                                             GIGANEWS, INC. and
                                                           9 LIVEWIRE SERVICES, INC.
                                                          10                        UNITED STATES DISTRICT COURT
                                                          11                      CENTRAL DISTRICT OF CALIFORNIA
                                                          12                                WESTERN DIVISION
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                                                          13   PERFECT 10, INC., a California        Case No.: 11-cv-07098-AB (SHx)
                                          SAN FRANCISCO




                                                               Corporation ,
                                                          14                                         DEFENDANTS GIGANEWS, INC.
                                                                              Plaintiff,             AND LIVEWIRE SERVICES,
                                                          15                                         INC.’S NOTICE OF MOTION AND
                                                                      v.                             MOTION FOR AWARD OF
                                                          16                                         ATTORNEY’S FEES AND
                                                               GIGANEWS, INC., a Texas Corporation; EXPENSES
                                                          17   LIVEWIRE SERVICES, INC., a Nevada
                                                               Corporation; and Does 1 through 100,  Date:       February 2, 2015
                                                          18   inclusive,                            Time:       10:00 A.M.
                                                                                                     Courtroom: 790 Roybal
                                                          19                  Defendant.             Judge: Hon. André Birotte, Jr.
                                                          20
                                                             GIGANEWS, INC., a Texas Corporation;
                                                          21 LIVEWIRE SERVICES, INC., a Nevada
                                                             Corporation,
                                                          22
                                                                          Counterclaimants,
                                                          23
                                                                  v.
                                                          24
                                                             PERFECT 10, INC., a California
                                                          25 Corporation,
                                                          26                  Counterdefendant.
                                                          27
                                                          28
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                                                           1          NOTICE OF MOTION FOR AWARD OF ATTORNEY’S FEES
                                                           2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                           3         DEFENDANTS GIGANEWS, INC. AND LIVEWIRE SERVICES, INC.
                                                           4 GIVE NOTICE THAT ON that, on February 2, 2015 at 10:00 A.M., or as soon
                                                           5 thereafter as feasible, in Courtroom 790 of the United States District Court for the
                                                           6 Central District of California, located at 255 East Temple Street, Los Angeles, CA
                                                           7 90012-3332, Defendants Giganews, Inc. and Livewire Services, Inc., will, and
                                                           8 hereby do, move for an order granting Defendants their reasonable attorney’s fees
                                                           9 and other recoverable expenses in this matter. Defendants base this motion on this
                                                          10 notice; the memorandum in support; the declarations of Andrew P. Bridges, Peter
                                                          11 D. Zeughauser, Todd R. Gregorian and their exhibits; all other pleadings and papers
                                                          12 on file in this action; any matters of which this Court may take judicial notice, and
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                                                          13 any other evidence and argument as counsel may present at or before the hearing on
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                                                          14 this matter. This motion follows a conference of counsel pursuant to L.R. 7-3
                                                          15 which took place on November 18, 2014.
                                                          16
                                                          17 Dated: December 29, 2014                FENWICK & WEST LLP
                                                          18
                                                          19                                         By: /s/Andrew P. Bridges
                                                                                                        Andrew P. Bridges
                                                          20
                                                                                                     Attorneys for Defendants
                                                          21                                         GIGANEWS, INC., and
                                                                                                     LIVEWIRE SERVICES, INC.
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                                                           1                 MEMORANDUM OF POINTS AND AUTHORITIES
                                                           2 I.       INTRODUCTION
                                                           3          As the Court recognized in its summary judgment orders, Perfect 10 could
                                                           4 have avoided this litigation in a matter of minutes by submitting to Defendants
                                                           5 proper notifications of claimed infringement. Instead, Perfect 10’s CEO, a veteran
                                                           6 of dozens of lawsuits but a non-lawyer with no professional standards to influence
                                                           7 him, pursued this case with blind passion and greed, relying on a series of
                                                           8 outrageous and false statements and baseless arguments, including claims that
                                                           9 Defendants themselves uploaded infringing messages to Usenet. Plaintiff waged an
                                                          10 extraordinary campaign of three and a half years, taking step after step to create
                                                          11 litigation chaos, with enormous burdens and expenses for Defendants, while
                                                          12 seeking catastrophic statutory damages (without actual damage) and injunctions.
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                                                          13 Perfect 10 is a unique litigant. Sadly, this is not a unique case: Perfect 10 has
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                                                          14 shown no signs of letting up, and it will not curb its litigation misbehavior unless
                                                          15 this Court demonstrates that courts will not idly indulge Perfect 10’s misbehavior.
                                                          16          Defendants prevailed completely in this case, obtaining final judgment on the
                                                          17 merits. Defendants won dismissal of Perfect 10’s trademark, right of publicity, and
                                                          18 unfair competition claims, and summary judgment on its copyright claims—a
                                                          19 determination as a matter of law that out of the nearly 20,000 works Perfect 10
                                                          20 claimed, Defendants did not infringe a single Perfect 10 copyright. Three district
                                                          21 judges (Judges Matz, Collins, and Birotte) ruled unanimously against Perfect 10’s
                                                          22 copyright theories. A fourth judge, in the Southern District of California, saw
                                                          23 through Perfect 10’s forum shopping at the outset and sent the case to this Court.
                                                          24 At every significant turn, the Court has ruled against Perfect 10. Nor is it alone in
                                                          25 doing so. The Court of Appeals for the Ninth Circuit, in Perfect 10’s other cases
                                                          26 involving CCBill, Google, and Amazon.com, have also ruled against Perfect 10 on
                                                          27 every appeal. They have made clear rulings that Perfect 10 has steadfastly ignored.
                                                          28 Both the facts of this case and the relevant legal standards call out for an award to
                                                             DEFENDANTS’ NOTICE OF MOTION AND              2              Case No.: 11-cv-07098-AB (SHx)
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                                                           1 Defendants of their attorney’s fees and expenses.
                                                           2         The fees that Defendants request are reasonable in light of the scope and
                                                           3 complexity of the case and Perfect 10’s tireless and constant attempts to drive up
                                                           4 the expense. Perfect 10’s complaint threatened statutory damages of potentially
                                                           5 billions of dollars, and only after three years of litigation did Perfect 10 reveal that
                                                           6 it considered the settlement value of the case to be over $51 million. For Perfect
                                                           7 10, litigation gamesmanship and the costs it imposes are the engine for the
                                                           8 settlements that are at the heart of its business plan. Defendants incurred
                                                           9 reasonable expense to defend this case. Anything less than a full award of fees to
                                                          10 Defendants will penalize Defendants for seeing this case to a conclusion on the
                                                          11 merits. Anything less than a full award will encourage Perfect 10 to continue to
                                                          12 pursue its wrongful objective: using the prospect of outrageous litigation claims and
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                                                          13 tactics to extract unwarranted payments.
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                                                          14 II.     FACTUAL AND PROCEDURAL BACKGROUND
                                                          15         Plaintiff Perfect 10 is a failed publisher of an adult magazine and website and
                                                          16 a serial litigant best known for its copyright infringement lawsuits. Perfect 10 has
                                                          17 sued a variety of companies including Visa and MasterCard, Google, Amazon.com,
                                                          18 Tumblr, and Microsoft, attempting to hold each liable for the copyright
                                                          19 infringements of individual Internet users. In this case, Perfect 10 sued two
                                                          20 providers of Usenet access, alleging: (1) direct and indirect copyright infringement,
                                                          21 based on Perfect 10’s allegation that the Usenet contains material that infringes its
                                                          22 copyrights; (2) trademark infringement and dilution based upon Defendants’
                                                          23 provision of Usenet messages that allegedly contain Perfect 10’s marks; (3) unfair
                                                          24 competition; and (4) violation of rights of publicity Perfect 10 claimed to have
                                                          25 acquired from its models. Dkt. 1, ¶ 74. Perfect 10’s behavior over the three and a
                                                          26 half years of the case reveals a single-minded drive to increase litigation expense
                                                          27 and to intimidate Defendants into paying enormous sums to settle the case.
                                                          28         Improper Venue. Perfect 10’s gamesmanship began when it brought this
                                                               DEFENDANTS’ NOTICE OF MOTION AND       3             Case No.: 11-cv-07098-AB (SHx)
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                                                           1 action in an improper venue. Perfect 10 had previously filed approximately two
                                                           2 dozen cases in the Central District of California, where it resides. Dkt. 56 at 2.
                                                           3 After several defeats in this Court, however, Perfect 10 filed this case in the
                                                           4 Southern District of California. The Southern District of California rejected Perfect
                                                           5 10’s forum shopping, finding that “Perfect 10 has failed to show [a] specific
                                                           6 connection to the Southern District” and noting that the “mere fact that Perfect 10
                                                           7 has a website does not provide a nexus to the Southern District.” Id. Perfect 10
                                                           8 also later opposed a related-case assignment in this District without basis. Dkt. 62.
                                                           9         Preliminary Injunction. In another case, the Ninth Circuit in 2011 affirmed
                                                          10 denial of Perfect 10’s motion for preliminary injunction against Google, ruling that
                                                          11 Perfect 10’s accusations of infringement against many companies made it unable to
                                                          12 show irreparable harm at Google’s hands. See Perfect 10, Inc. v. Google, Inc., 653
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                                                          13 F.3d 976 (9th Cir. 2011). The ruling effectively established that Perfect 10 was
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                                                          14 unable to show irreparable harm at the hands of any company. Nonetheless, Perfect
                                                          15 10 sought an onerous preliminary injunction against Defendants in this case,
                                                          16 recycling its arguments of irreparable harm. In denying Perfect 10’s motion, Judge
                                                          17 Matz noted that Perfect 10 did not address the Ninth Circuit’s ruling in its briefing,
                                                          18 even though Defendants relied on Google in their opposition. Dkt. 88, at 2.
                                                          19 Following Google, the Court held that Perfect 10’s claim that 150 other entities had
                                                          20 infringed upon its images meant an injunction against Defendants would not
                                                          21 prevent any supposed irreparable injury. Id. The Court further found no irreparable
                                                          22 harm because Perfect 10 ceased publication of its magazine years before and
                                                          23 submitted no evidence it had ever turned a profit. Id.
                                                          24         Motions to Dismiss. The Court noted that Perfect 10’s original Complaint
                                                          25 was “marred by excessively conclusory language” (Dkt. 97, at 1) that “obscures”
                                                          26 the facts regarding Defendants’ alleged conduct. Id. at 2. Defendants moved to
                                                          27 dismiss because of those and other defects in Perfect 10’s pleading. Perfect 10
                                                          28 asserted claims for copyright infringement against Defendants based on
                                                             DEFENDANTS’ NOTICE OF MOTION AND           4              Case No.: 11-cv-07098-AB (SHx)
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                                                           1 Defendants’ provision of Usenet access to their customers. Dkt. 1, ¶¶ 36-37.
                                                           2 Perfect 10 alleged:
                                                           3                Defendants sell to their customers for as little as $4.99
                                                           4                per month access to their servers, which are virtual
                                                           5                warehouses containing billions of dollars worth of
                                                           6                copyrighted works.
                                                           7 Id. at ¶ 24. Perfect 10 acknowledged, however, that “Defendants purportedly copy
                                                           8 all of the materials on their servers from a global system of online bulletin boards
                                                           9 called the USENET.” Id. The Court (Judge Matz then presiding) granted
                                                          10 Defendants’ motion to dismiss, rejecting Perfect 10’s direct infringement claims.
                                                          11 Dkt. 97 at 13. The Court concluded that “copyright infringement requires ‘some
                                                          12 element of volition or causation which is lacking where a defendant’s system is
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                                                          13 merely used to create a copy by a third party.’” Id. (citing Netcom, 907 F. Supp. at
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                                                          14 1370) (internal quotation omitted). Applying that principle to the facts that Perfect
                                                          15 10 had alleged, the Court concluded that “Defendants merely engaged in the act of
                                                          16 designing and implementing a system that automatically and uniformly creates
                                                          17 temporary copies of all data sent through it, whether that data contains infringing
                                                          18 content or not. Such conduct does not constitute any volitional act.” Id. at 11
                                                          19 (internal citation and quotation omitted). The Court warned Perfect 10 that any
                                                          20 amended complaint should not “use the same vague and conclusory language that
                                                          21 plagued the original complaint.” Id. at 24. The Court also held that Perfect 10 had
                                                          22 adequately pled its claims of contributory and vicarious copyright infringement
                                                          23 against Giganews, but it dismissed those claims against Livewire. See id. at 13-19.
                                                          24         Perfect 10’s original complaint also alleged multiple additional claims
                                                          25 (Dkt. 1 ¶¶ 48-78) that the Court dismissed:
                                                          26      • Perfect 10 did not adequately plead its claims for direct trademark
                                                          27         infringement, secondary trademark infringement, and trademark dilution,
                                                          28         because it failed to set forth any allegation of trademark “use” by Defendants
                                                               DEFENDANTS’ NOTICE OF MOTION AND              5              Case No.: 11-cv-07098-AB (SHx)
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                                                           1         or third-parties;
                                                           2      • The Communications Decency Act of 1996 (“CDA”), 47 U.S.C § 230,
                                                           3         provided Defendants immunity against Perfect 10’s claims of publicity
                                                           4         violations under the California statute, right of publicity violations under
                                                           5         California common law, and unfair competition under California statutes.
                                                           6 Dkts. 11 & 97 at 19-24.
                                                           7         In its Amended Complaint, Perfect 10 repeated its boilerplate allegations
                                                           8 regarding Defendants’ provision of Usenet access, requiring a further motion to
                                                           9 dismiss to address the same infringement theories the Court had already rejected.
                                                          10 See Dkts. 111 & 129 at 3 (“it is clear that these allegations cannot support [a] claim
                                                          11 for direct infringement”). The Court, however, allowed Perfect 10 to proceed based
                                                          12 on new, and scurrilously false, allegations that Giganews employees had themselves
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                                                          13 directly uploaded infringing materials. Id. The Court noted that Perfect 10 had
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                                                          14 made these allegations on information and belief and characterized them as “not the
                                                          15 strongest set of allegations.” Id. at 4.
                                                          16         Perfect 10’s Early Motion for Summary Judgment. Perfect 10 moved on
                                                          17 November 4, 2013, for partial summary judgment on issues relating to Defendants’
                                                          18 affirmative defenses, namely the DMCA compliance of Perfect 10’s takedown
                                                          19 notices and purported ineligibility of Defendants for DMCA safe harbor. Dkt. 142.
                                                          20 The Court denied the motion entirely. Dkt. 180 at 2. The Court also noted that
                                                          21 Perfect 10’s “voluminous evidentiary objections” were “substantially meritless.”
                                                          22 Id. at 5. Perfect 10 later tried to overcome this failure with a motion for sanctions
                                                          23 pursuant to Fed. R. Civ. P 56(h), accusing all of Defendants’ witnesses of filing
                                                          24 false declarations. Dkt. 325. The Court termed the motion “ill-considered and
                                                          25 overreaching” and denied it as meritless. Dkt. 343.
                                                          26         Discovery. Perfect 10’s intransigence in discovery forced Defendants to
                                                          27 obtain numerous orders against it. See Dkts. 223, 254, 311, & 326. The Court also
                                                          28 issued orders against Perfect 10-affiliated witnesses, whom Perfect 10’s counsel
                                                             DEFENDANTS’ NOTICE OF MOTION AND             6             Case No.: 11-cv-07098-AB (SHx)
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                                                           1 represented, for acts that ranged from insufficient responses to willful misconduct.
                                                           2 See Dkts. 312, 320 & 342. By contrast, the Court substantially or entirely denied
                                                           3 Perfect 10’s motions to compel and for discovery sanctions. See Dkts. 216, 295,
                                                           4 316, & 412. Perfect 10’s noncompliance with its discovery obligations was bold, as
                                                           5 detailed in Defendants’ pending sanctions motion (Dkt. 356): 1
                                                           6       • Perfect 10 made an unsolicited dump of 800,000 pages before Defendants
                                                           7          had sent any discovery requests, and then it refused to disclose how it
                                                           8          selected those materials for production or how they related to Defendants’
                                                           9          later discovery requests. Perfect 10 then made multiple representations as to
                                                          10          the “completeness” of its production both before and after motion practice
                                                          11          that, on investigation, turned out to be false.
                                                          12       • In spite of the Court’s orders, Perfect 10 refused to disclose evidence
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                                                          13          supporting the basic elements of its claims, including: identification of the
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                                                          14          copyrighted works asserted in the case, the Usenet messages and websites it
                                                          15          alleged infringe its copyrights, its claimed evidence that Defendants posted
                                                          16          infringing materials to Usenet, and its claimed evidence that the presence of
                                                          17          Perfect 10 images on Usenet acts as a draw for any Usenet subscriber.
                                                          18       • Also contrary to Court order, Perfect 10 sought to preclude investigation of
                                                          19          its activities on the Usenet, refusing to fully disclose its Usenet accounts, IP
                                                          20          addresses, email addresses, and advertising and promotional efforts. And
                                                          21          Perfect 10 sought to preclude investigation of its past litigation activity and
                                                          22          positions, refusing to identify all those lawsuits and to produce all related
                                                          23          declarations, deposition transcripts, and expert reports.
                                                          24       • None of the Perfect 10 affiliated witnesses complied with the Court’s orders
                                                          25          directing their searches for documents. Instead, they withheld responsive
                                                          26   1
                                                               Defendants’ Motion for attorney fees related to their discovery briefing remains
                                                          27 the extent See
                                                             pending.       Dkt. 638. Defendants do not seek a double-recovery of their fees: to
                                                                        Magistrate Judge Hillman issues an award, Defendants will withdraw
                                                          28 their request for reimbursement of the corresponding fees he awards from this
                                                             motion.
                                                             DEFENDANTS’ NOTICE OF MOTION AND            7               Case No.: 11-cv-07098-AB (SHx)
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                                                           1          documents at their own discretion, excluded electronic search terms that the
                                                           2          Court specifically ordered, or searched a selective subset of their electronic
                                                           3          files. Most did not conduct manual searches or provide sworn declarations
                                                           4          including the details of their search that the Court ordered them to provide.
                                                           5          One flatly refused to provide IP address information as the Court had
                                                           6          ordered. Nevertheless, Perfect 10’s counsel submitted declaration testimony
                                                           7          under penalty of perjury that these witnesses had fully complied with the
                                                           8          Court’s orders.
                                                           9      • Perfect 10’s technical consultants Sean Chumura and Szabolcs Apai gave
                                                          10          repeated, sworn testimony that they had no responsive documents because
                                                          11          they had lost or destroyed their files. But on the final day of fact discovery,
                                                          12          well after their depositions, each produced thousands of pages of responsive
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                                                          13          documents that exposed the falsehood of their testimony.
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                                                          14          Perfect 10 also misbehaved during expert discovery. Perfect 10 designated
                                                          15 three putative expert witnesses, Richard Waterman, J. Douglas Tygar, and Norman
                                                          16 Zada. Each of these witnesses offered opinions that were irrelevant, beyond their
                                                          17 expertise, or impermissible lay opinions. For example, Mr. Zada sought to qualify
                                                          18 himself as an expert on the Usenet based on his experience as a user, and as an
                                                          19 expert on DMCA notice and takedown procedures based on his experience of
                                                          20 having sent takedown notices. He also sought to offer purported “expert” opinions
                                                          21 regarding the credibility of Defendants’ witnesses. Mr. Waterman sought to opine
                                                          22 regarding the current prevalence of infringement of images on the Usenet based on
                                                          23 an obsolete study regarding music. Facing the threat of Daubert motions, Perfect
                                                          24 10 suggested it might withdraw some of its “expert” opinions but did not. Only
                                                          25 after Defendants paid to prepare and file Daubert motions did Perfect 10 voluntarily
                                                          26 withdraw substantial portions of the testimony of two of its putative experts (Dkt.
                                                          27 526 at 3; Dkt. 525 at 3), and ever evasive, it substituted a new declaration by the
                                                          28 third, long after the deadline, to assert previously undisclosed opinions. Dkt. 524-1.
                                                             DEFENDANTS’ NOTICE OF MOTION AND               8              Case No.: 11-cv-07098-AB (SHx)
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                                                           1 Ultimately, the Court granted Defendants’ motions and barred Mr. Zada from
                                                           2 testifying as an expert. Dkts. 580-582.
                                                           3         Summary Judgment. Disregarding the Court’s denial of its earlier motion
                                                           4 for partial summary judgment (Dkt. 180), Perfect 10 again moved on the same issue
                                                           5 of the adequacy of its DMCA notices to Defendants. Dkt. 449. In addition, Perfect
                                                           6 10 moved for partial summary judgment concerning direct copyright infringement
                                                           7 (Dkt. 453) and indirect copyright infringement (and Giganews’s alleged
                                                           8 ineligibility for DMCA safe harbor). Dkt. 504. Defendants brought a total of four
                                                           9 motions for partial summary judgment as to direct copyright infringement (Dkt.
                                                          10 357); indirect copyright infringement (Dkt. 440); adequacy of Perfect 10’s
                                                          11 notifications of claimed infringement (Dkt. 534); and statutory damages. Dkt. 535.
                                                          12         The Court granted Defendants’ motions with respect to direct and indirect
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                                                          13 infringement and denied all other summary judgment motions as moot. Dkts. 619-
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                                                          14 21. Ruling on direct infringement, the Court noted Perfect 10’s resurrection of
                                                          15 rejected legal theories:
                                                          16         In an implicit admission that the facts before the Court are no different
                                                          17         than the allegations Judge Matz and Judge Collins previously rejected,
                                                          18         Perfect 10 repeatedly urges the Court to depart from Judge Matz’ and
                                                          19         Judge Collins’ prior rulings.
                                                          20 Dkt. 619 at 15; see also id. at 16. The Court also recognized that Perfect 10 had
                                                          21 produced no evidence on the direct infringement allegations that had caused Judge
                                                          22 Collins to allow the claim to proceed, namely that Defendants or their employees
                                                          23 uploaded Perfect 10 materials to Usenet. Id. at 12. The allegations were false.
                                                          24         On the vicarious and contributory infringement claims the Court found no
                                                          25 probative evidence tended to show that Giganews received a direct financial benefit
                                                          26 from infringement of Perfect 10 copyrighted material or had knowledge of any
                                                          27 specific infringing Perfect 10 material on its servers. Dkt. 620 at 14. The Court
                                                          28
                                                               DEFENDANTS’ NOTICE OF MOTION AND            9               Case No.: 11-cv-07098-AB (SHx)
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                                                           1 also commented on Perfect 10’s practice of submitting hundreds of inadequate
                                                           2 takedown notices:
                                                           3         Not only did Perfect 10 submit illegible Message-IDs for the 542
                                                           4         messages it claims Giganews refused to take down, but when
                                                           5         Giganews asked Perfect 10 to resubmit the Message-IDs in a legible
                                                           6         format so that Giganews could block access to the infringing
                                                           7         messages (as Giganews had done with thousands of other messages in
                                                           8         response to Perfect 10’s takedown notices) Perfect 10 refused to do
                                                           9         what was well within its power.
                                                          10         Even more puzzling, Perfect 10 also admits that it is aware of and
                                                          11         capable of using an infinitely simpler method of presenting Giganews
                                                          12         with readily identifiable Message-IDs for use in a proper takedown
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                                                          13         notice . . . Perfect 10 did not take that simple step to protect its
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                                                          14         copyrights.
                                                          15 Id. at 12-13. The Court entered final judgment in Defendants’ favor on all claims.
                                                          16 Dkt. 628. Undeterred, Perfect 10 pursues reconsideration of the Court’s summary
                                                          17 judgment orders. See Dkt. 627.
                                                          18 III.    ARGUMENT
                                                          19         A.     DEFENDANTS SHOULD RECOVER ATTORNEY’S FEES
                                                                            THEY INCURRED DEFENDING AGAINST ALL CLAIMS.
                                                          20
                                                          21         Defendants prevailed on all of Perfect 10’s asserted claims: copyright
                                                          22 infringement, trademark infringement, right of publicity, and unfair competition.
                                                          23 Although the parties spent most of the case litigating the copyright claims,
                                                          24 Defendants also incurred substantial early expense to defeat Perfect 10’s other
                                                          25 aggressive claims. In addition, Defendants prevailed on major procedural issues,
                                                          26 including defeating Perfect 10’s improper venue and its preliminary injunction
                                                          27 motion. Under the applicable standards the Court should award fees on all claims
                                                          28 with the exception of those associated only with the unfair competition claim.
                                                             DEFENDANTS’ NOTICE OF MOTION AND           10               Case No.: 11-cv-07098-AB (SHx)
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                                                           1                1.     The Court Should Award Fees Under the Copyright Act.
                                                           2         The Copyright Act permits a district court to “award a reasonable attorney’s
                                                           3 fee to the prevailing party as part of the costs.” 17 U.S.C. § 505. Prevailing
                                                           4 plaintiffs and prevailing defendants get equal treatment: the court should award fees
                                                           5 when the prevailing party’s successful prosecution or defense of a claim furthers
                                                           6 the purpose of the Copyright Act. See Fogerty v. Fantasy, 510 U.S. 517, 534
                                                           7 (1994) (“Fogerty I”); Fantasy, Inc. v. Fogerty, 94 F.3d 553, 558 (9th Cir. 1996)
                                                           8 (“Fogerty II”) (“Faithfulness to the purposes of the Copyright Act is. . . the pivotal
                                                           9 criterion”).
                                                          10         [E]xceptional circumstances are not a prerequisite to an award of
                                                          11         attorneys fees; district courts may freely award fees, as long as they
                                                          12         treat prevailing plaintiffs and prevailing defendants alike and seek to
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                                                                     promote the Copyright Act’s objectives.
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                                                          13
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                                                          14 Historical Research v. Cabral, 80 F.3d 377, 378 (9th Cir. 1996) (citation and
                                                          15 internal quotation omitted). The purposes of the Copyright Act “[are] furthered
                                                          16 when defendants ‘advance a variety of meritorious copyright defenses.’” Mattel,
                                                          17 Inc. v. MGA Entm’t, Inc., 705 F.3d 1108, 1111 (9th Cir. 2013).
                                                          18         Several factors guide a district court’s determination of whether a fee award
                                                          19 furthers the Copyright Act’s purposes: (1) the degree of success obtained;
                                                          20 (2) frivolousness; (3) motivation; (4) objective unreasonableness (both in the
                                                          21 factual and in the legal components of the case); and (5) the need, in particular
                                                          22 circumstances, to advance considerations of compensation and deterrence. See
                                                          23 Entm’t Research Grp. v. Genesis Creative Grp., 122 F.3d 1211, 1229 (9th Cir.
                                                          24 1997) (citing Fogerty II)). Not all factors must be present: “[c]ourts have awarded
                                                          25 costs for copyright claims based on a single factor.” See Robinson v. Lopez, No.
                                                          26 CV 03-3732 LGB (PLAx), 2003 WL 2316906, at *2, 69 U.S.P.Q.2d (BNA) 1241
                                                          27 (C.D. Cal. Nov. 24, 2003) (citing Fogerty II, 94 F.3d at 558). Unusually in this
                                                          28 case, all five factors weigh in favor of an award.
                                                             DEFENDANTS’ NOTICE OF MOTION AND             11               Case No.: 11-cv-07098-AB (SHx)
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                                                           1                       a.    Defendants Obtained a Complete Merits Victory.
                                                           2         The first factor, the degree of success obtained, weighs in favor of any
                                                           3 defendant that was “completely successful against the copyright claims.” Love v.
                                                           4 The Mail on Sunday, No. CV05-7798 ABC (PJWX), 2007 WL 2709975, at *5
                                                           5 (C.D. Cal. Sep. 7, 2007)(“Love I”). This factor “weighs more in favor of a party
                                                           6 who prevailed on the merits rather than a technical defense.” Duckhole v. NBC
                                                           7 Universal Media LLC,, No. CV 12-10077-BRO, 2013 WL 5797204, at *2 (C.D.
                                                           8 Cal. Oct. 25, 2013); see also Bernal v. Paradigm Talent and Literary Agency, No.
                                                           9 CV 07-06445 SVW (PLAx), 2010 WL 6397561, at *3 (C.D. Cal. Jun. 1, 2010).
                                                          10 Here, Defendants prevailed against all of Perfect 10’s copyright claims, establishing
                                                          11 as a matter of law that they committed neither direct nor indirect copyright
                                                          12 infringement. Dkts. 619 & 620. This merits victory, which thwarted Perfect 10’s
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                                                          13 attempts to reverse the Ninth Circuit’s mandate placing responsibility to copyright
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                                                          14 policing on copyright holders, to manufacture liability from deliberately defective
                                                          15 notices, and to expand the contours of direct and indirect liability for copyright
                                                          16 infringement, and which protected a core component of the Internet and forum for
                                                          17 free speech, furthered the purposes of the Copyright Act. This weighs strongly in
                                                          18 favor of an award.
                                                          19                       b.    Perfect 10 Persisted in Frivolous and Unreasonable
                                                                                         Positions.
                                                          20
                                                          21         “Allegations that are unsupported by facts or law are objectively
                                                          22 unreasonable.” Batjac Prods., Inc. v. Goodtimes Home Video Corp., No. CV 96-
                                                          23 7416 DDP, 1997 WL 7455039, at *3 (C.D. Cal. Sept. 26, 1997). A party cannot
                                                          24 reasonably maintain a factual allegation throughout litigation without evidentiary
                                                          25 support. See Entm’t Research Grp., 122 F.3d at 1229 (upholding award where “it
                                                          26 was ‘objectively unreasonable’ for [plaintiff] to have maintained [copyright] claims
                                                          27 for almost three years without evidentiary basis”); Scott v. Meyer, No. CV 09-6076
                                                          28 ODW (RZx), 2010 WL 2569286, at *3 (C.D. Cal. Jun. 21, 2010) (noting courts
                                                             DEFENDANTS’ NOTICE OF MOTION AND     12               Case No.: 11-cv-07098-AB (SHx)
                                                             MOTION FOR AWARD OF ATTORNEY’S
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                                                           1 have held “the maintenance of copyright claims for protracted period of a time
                                                           2 without evidentiary support” to be “objectively unreasonable”). A case crosses the
                                                           3 line from unreasonable to frivolous where “the result is obvious or the arguments
                                                           4 are wholly without merit.” Glass v. Sue, No. CV 09-8570-RGK (SHx), 2011 WL
                                                           5 5611028, at *3 (C.D. Cal. Feb. 8, 2011). A case is also frivolous if “the factual
                                                           6 contention is clearly baseless.” Perfect 10, Inc. v. Visa Int’l Servs. Ass’n, No. C 04-
                                                           7 00371 JW, 2005 WL 2007932, at *4 (N.D. Cal. Aug. 12, 2005).
                                                           8          Pervasively throughout the case Perfect 10 asserted unreasonable and
                                                           9 frivolous positions. The Court observed that Perfect 10 made no attempt to support
                                                          10 its sole viable direct infringement theory with evidence. Instead Perfect 10 forced it
                                                          11 to rule three times that the mere provision of Usenet access does not constitute
                                                          12 direct infringement. See Dkt. 619 at 12 (“Although Perfect 10 repeats the
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                                                          13 arguments Judge Matz and Judge Collins already rejected, the record is devoid of
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                                                          14 any evidence to support the only theory of direct liability as to Giganews that
                                                          15 survived the pleading stage.”). Notwithstanding the absence of evidence, Perfect
                                                          16 10 refused to abandon the direct infringement claim at the close of discovery. See
                                                          17 Gregorian Decl., Ex. 1. Maintaining the claim with no evidentiary support was
                                                          18 itself unreasonable; moving for summary judgment on this claim based on a theory
                                                          19 that the Court had already rejected twice (and opposing Defendants’ motion on the
                                                          20 same grounds) was frivolous.
                                                          21          Perfect 10 also pursued its indirect infringement claim despite a similar lack
                                                          22 of evidentiary support. The Court found the record:
                                                          23      • “devoid of any evidence that Giganews had the necessary knowledge of
                                                          24          specific third-party infringement to support a claim for contributory
                                                          25          infringement;”
                                                          26      •    “lack[ing] . . . a single piece of evidence” indicating that Perfect 10 images
                                                          27          cause customers to subscribe to Giganews; and
                                                          28      •  without “any competent evidence to suggest that infringement of other forms
                                                               DEFENDANTS’ NOTICE OF MOTION AND        13               Case No.: 11-cv-07098-AB (SHx)
                                                               MOTION FOR AWARD OF ATTORNEY’S
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                                                           1         of media is rampant on Giganews’s servers.”
                                                           2 Dkt. 620 at 1, 5, 7 & 9. Moreover, Perfect 10 recycled failed theories on summary
                                                           3 judgment that the Court had already rejected. See, e.g., Dkt. 620 at 11. Perfect 10’s
                                                           4 continued prosecution of a claim for which it lacked any evidence on multiple
                                                           5 elements was unreasonable and frivolous.
                                                           6         Finally, Perfect 10 burdened the Court and Defendants with a series of
                                                           7 frivolous objections and discovery motions. Magistrate Judge Hillman issued four
                                                           8 separate orders requiring Perfect 10 to comply with discovery obligations and two
                                                           9 additional orders requiring the same of Perfect 10-related witnesses whom Perfect
                                                          10 10’s counsel represented. See Dkts. 223, 254, 311, 326, 318, 322, and 326. Perfect
                                                          11 10 filed a series motions for sanctions that it lost, one of which the Court described
                                                          12 as “meritless” “entirely unpersuasive,” and “ill-conceived and overreaching.” Dkt.
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                                                          13 343 [July 14, 2014 Civil Minutes] at 1. The Court described another motion as
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                                                          14 involving mere “technical” problems, and specified that Perfect 10 should bear the
                                                          15 cost of any technical assistance because the discovery sought was “highly unlikely
                                                          16 to yield information that will advance plaintiff’s case.” Dkt. 295 at 4. Perfect 10
                                                          17 never sought the technical assistance when it faced the burden of paying for it,
                                                          18 revealing that it simply had wanted to impose additional burdens on Defendants.
                                                          19 See Dkt. 344-6 [Belichick Decl.], ¶ 4; see also Dkt. 412 (“The Motion is Denied.
                                                          20 In sum Perfect 10 has the ability to obtain the information it desires, and Giganews
                                                          21 is not obstructing Perfect 10’s efforts”).
                                                          22                       c.     Perfect 10 Pursued The Case with an Improper
                                                                                          Motive.
                                                          23
                                                          24         Perfect 10’s evident goal in this suit was to force settlement before the Court
                                                          25 adjudicated the merits. The Court observed that Perfect 10 could have ensured the
                                                          26 prompt removal of any messages with its images from Giganews’s servers if it had
                                                          27 any interest in doing so:
                                                          28         Had Perfect 10 performed its own investigative duties, extracted the
                                                               DEFENDANTS’ NOTICE OF MOTION AND         14               Case No.: 11-cv-07098-AB (SHx)
                                                               MOTION FOR AWARD OF ATTORNEY’S
                                                               FEES AND EXPENSES
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                                                           1          Message-IDs, and submitted those Message ID’s [] in a machine-
                                                           2          readable format, there would be little left to discuss in this case.
                                                           3 Dkt. 620 at 13. By its own admission Perfect 10 could have taken that step in
                                                           4 minutes. See Gregorian Decl., Ex. 2 [Perfect 10 30(b)(6) Depo.] at 207:22 - 208:13
                                                           5 (estimating 15 minutes to extract Message ID’s for 90% of allegedly infringing
                                                           6 Usenet messages). This choice makes no sense for a party seeking to protect its
                                                           7 copyrights, but it perfectly fits one whose business model rests on litigation.
                                                           8          Perfect 10 has never been profitable as a business; according to Perfect 10’s
                                                           9 CEO, it has lost over $50 million (which losses, while also funding Mr. Zada’s
                                                          10 lavish mansion and lifestyle, are passed through to Mr. Zada’s personal income
                                                          11 taxes to offset his enormous hedge fund profits because Perfect 10 is an S
                                                          12 corporation). Gregorian Decl., Ex. 3 [April 24 Zada Depo.] at 159:7-21; Ex. 5
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                                                          13 [August 24 Zada Depo.] at 247:15-248:11; Ex. 6 [June 5 Chaney Depo.] at 50:20-
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                                                          14 51:10. After more than a decade in business, Perfect 10 has generated less than
                                                          15 $12,000 from the licensing of its images, and its website has only 1,200 active
                                                          16 subscribers. Id., Ex. 3 at 212:18 - 213:2; Ex. 4 [April 25 Zada Depo.] at 563:5-6.
                                                          17 Perfect 10 now spends a negligible amount of time—only forty hours per year –
                                                          18 producing new works. Id., Ex. 4 at 539:25-541:4. Nor does Perfect 10 employ
                                                          19 measures to prevent its own customers from downloading and disseminating
                                                          20 images, essentially courting infringement. Id., Ex. 3 at 76:18- 79:21.
                                                          21          Instead, Perfect 10 generates its revenue through litigation settlements
                                                          22 (Gregorian Decl., Ex. 3 [April 24 Zada Depo.] at 161:24-162:5), and the
                                                          23 overwhelming majority of its employee time and financial resources supports the
                                                          24 litigation business. Id., Ex. 4 [April 25 Zada Depo.] at 539:25-541:4; see also Ex. 3
                                                          25 [April 24 Zada Depo.] at 84:1-4 (Zada’s primary role as CEO is litigation
                                                          26 management); id. at 162:6-163:9 (litigation Perfect 10’s largest expense). Perfect
                                                          27 10 has acquired copyrights to images for the purpose of improving its litigation
                                                          28 position, and it routinely buys the copyrights to images it discovers on allegedly
                                                             DEFENDANTS’ NOTICE OF MOTION AND            15               Case No.: 11-cv-07098-AB (SHx)
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                                                           1 infringing websites. Id., Ex. 3 at 38:19-42:17. As part of its strategy, Perfect 10
                                                           2 provides DMCA notices that courts have criticized as noncompliant and overly
                                                           3 burdensome, and for which Perfect 10’s own lawyers disclaim responsibility. See
                                                           4 Perfect 10, Inc. v. CC Bill, LLC, 488 F.3d 1102, 1111-13 (9th Cir. 2007); see also
                                                           5 Gregorian Decl., Ex. 3 [April 24 Zada Depo.] at 93:2-95:3.
                                                           6         Courts facing litigants who similarly use the Copyright Act as a payment-
                                                           7 extraction vehicle have little difficulty finding improper motive. See Video-Cinema
                                                           8 Films, Inc. v. CNN, Inc., Nos. 98 Civ. 7128, 98 Civ. 7129, 98 Civ. 7130, 2003 U.S.
                                                           9 Dist. LEXIS 4887, at *15-16 (S.D.N.Y. Mar. 31, 2003) (motive improper where
                                                          10 plaintiff purchased copyrights for the purpose of bringing suit, and describing
                                                          11 conduct as “nothing more than an obvious effort to use the Copyright Act to secure
                                                          12 payment” from parties with a valid defense); see also Duckhole, 2013 WL
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                                                          13 5797204, at *2 (considering extensive litigation history of plaintiff’s CEO as
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                                                          14 evidence of improper motivation). Perfect 10’s motivation of securing windfall
                                                          15 settlements undermines the purposes of the Copyright Act, and it weighs heavily in
                                                          16 favor of granting Defendants their attorney’s fees and expenses.
                                                          17                       d.    The Court Should Award Fees to Compensate
                                                                                         Defendants and Deter Perfect 10 from Continuing its
                                                          18                             Campaign of Unmeritorious Suits.
                                                          19         “Deterring non-meritorious lawsuits against defendants seen as having ‘deep
                                                          20 pockets’ and compensating parties that must defend against meritless claims are
                                                          21 both laudable ends.” Scott, 2010 WL 2569286, at *3. The need both to
                                                          22 compensate and to deter is greatest where a plaintiff’s tactics have unnecessarily
                                                          23 driven up costs. See Love I, 2007 WL 2709975, at * 5 (“[T]here is a need in this
                                                          24 case …to deter Plaintiffs from advancing unsupportable claims. … Plaintiff’s case
                                                          25 was vastly overpled, thus unnecessarily expanding the Defendants’ (and this
                                                          26 Court’s) work.”).
                                                          27         Perfect 10 has filed over 30 copyright lawsuits, each seeking astronomical
                                                          28 statutory damages and often seeking injunctions that would require the defendants,
                                                             DEFENDANTS’ NOTICE OF MOTION AND          16              Case No.: 11-cv-07098-AB (SHx)
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                                                           1 at least temporarily, to cease providing services. Gregorian Decl. Ex. 3, [April 24
                                                           2 Zada Depo.] at 10:19-11:7. Perfect 10 has never won a damage award in a
                                                           3 contested case. Id. at 166:4-17. Moreover, because Perfect 10 seeks to force
                                                           4 settlements, Perfect 10 does everything in its power to drive up costs, posing
                                                           5 substantial burdens on defendants. For example, as discussed above, Defendants
                                                           6 could not obtain Perfect 10’s discovery compliance even after six discovery orders
                                                           7 from this Court. Defeating Perfect 10’s direct infringement claims required cross-
                                                           8 motions for summary judgment, even though Perfect 10 had developed no evidence
                                                           9 to support its claim. The Ninth Circuit has recognized that “[w]hen a fee award
                                                          10 encourages a defendant to litigate a meritorious [defense] against an unreasonable
                                                          11 claim of infringement, the policies of the Copyright Act are served.” SOFA Entm’t,
                                                          12 Inc. v. Dodger Prods., Inc., 709 F.3d 1273, 1280 (9th Cir. 2013). Here, Defendants
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                                                          13 should receive compensation for the costs of litigating their meritorious defenses,
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                                                          14 and the Court should deter Perfect 10 from asserting future meritless claims.
                                                          15            In sum, all of the Fogerty factors favor an award of fees in this case.
                                                          16                   2.    The Court Should Award Fees Under the Lanham Act.
                                                          17            The Lanham Act provides reasonable attorney’s fees to the prevailing party
                                                          18 in exceptional cases. 15 U.S.C. § 1117(a). In Octane Fitness, the Supreme Court
                                                          19 reviewed the standard under Section 285 of the Patent Act, holding that “an
                                                          20 ‘exceptional’ case is simply one that stands out from others with respect to the
                                                          21 substantive strength of a party’s litigating position (considering both the governing
                                                          22 law and the facts of the case) or the unreasonable manner in which the case was
                                                          23 litigated.” Octane Fitness, LLC v. Icon Health & Fitness, Inc., 134 S. Ct. 1749,
                                                          24 1756 (2014). In making that holding, the Court noted that the Lanham Act’s fee-
                                                          25 shifting provision is identical to the Patent Act’s, and since then courts have applied
                                                          26 the Octane Fitness standard to fees requests under the Lanham Act. See id; Fair
                                                          27 Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 314-15 (3d Cir. 2014).2 A prevailing
                                                          28   2
                                                                   Before Octane Fitness, the Ninth Circuit identified a number of circumstances that
                                                               DEFENDANTS’ NOTICE OF MOTION AND             17              Case No.: 11-cv-07098-AB (SHx)
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                                                           1 defendant need not show evidence of bad faith to recover. Stephen W. Boney, Inc.
                                                           2 v. Boney Servs., Inc., 127 F.3d 821, 827 (9th Cir. 1997).
                                                           3          Perfect 10 based all of its trademark claims on the bare allegation that
                                                           4 Defendants provide Usenet access services. See Dkt. 1 [Complaint] at ¶ 54
                                                           5 (“Defendants infringe Perfect 10 trademarks by providing lists of titles containing
                                                           6 such marks when a user searches for one of Perfect 10’s copyrighted works”); see
                                                           7 also id. at ¶ 62. Under well-settled law, that does not constitute trademark use. As
                                                           8 Judge Matz noted, “[t]he Court is unaware of any authority that would support such
                                                           9 a broad construction of direct trademark infringement law, and Plaintiff does not
                                                          10 cite any.” Dkt. 97 at 20. Similarly, in connection with Perfect 10’s secondary
                                                          11 liability claim, the Court stated that “Plaintiff’s Complaint is bereft of any
                                                          12 allegations that a third party used Plaintiff’s marks in connection with a commercial
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                                                          13 transaction.” Id. at 2. As the Court noted, Perfect 10 knew from its own earlier
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                                                          14 cases that “use” of its trademark was an essential element. See id. at 21 n.10.
                                                          15 Perfect 10’s trademark claim was meritless and, in the context of its litigation
                                                          16 practices throughout this case, merits an “exceptional case” finding.
                                                          17                 3.     The Court Should Award Fees Defendants Incurred
                                                                                    Defending Against Perfect 10’s State-Law Claims.
                                                          18
                                                                                    a.    California Law Mandates an Award of Fees on
                                                          19                              Perfect 10’s Publicity Claims.
                                                          20          Under California law, the right of publicity arises from two sources: Civil
                                                          21 Code Section 3344 and California case law.3 Section 3344 mandates recovery of
                                                          22 attorney fees by the prevailing party. Cal. Civ. Code § 3344(a) (“[t]he prevailing
                                                          23 party in any action under this section shall . . . be entitled to attorney’s fees and
                                                          24 costs”); see also Love v. Associated Newspapers, Ltd. (“Love II”), 611 F.3d 601,
                                                          25
                                                          26 support  a finding a plaintiff’s case exceptional, including asserting an objectively
                                                             unreasonable claim, ignoring a clear defense, or disregarding orders of the court.
                                                          27 See Mattel, Inc. v. Walking Mountain Prods., 353 F.3d 792, 816 (9th Cir. 2003);
                                                             Laskay   v. New Line Cinema Corp., 230 F.3d 1367 (9th Cir. 2000).
                                                             3
                                                               Perfect 10 alleged violations of the right of publicity under both the California
                                                          28 statute and  common law. See Dkt. 1 at ¶¶ 72-78.
                                                             DEFENDANTS’ NOTICE OF MOTION AND              18              Case No.: 11-cv-07098-AB (SHx)
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                                                           1 614 (9th Cir. 2010); Love I, 2007 WL 2709975, at *2 (J. Collins) (Section 3344
                                                           2 “renders an award of attorneys’ fees mandatory”); Kirby v. Sega of Am., Inc., 144
                                                           3 Cal. App. 4th 47, 62 (2006) (“The mandatory fee provision in section 3344
                                                           4 subdivision (a) leaves no room for ambiguity”). Where a plaintiff bases a common-
                                                           5 law claim for a publicity rights violation on the same alleged unauthorized use as its
                                                           6 statutory Section 3344 claim, the claims are “inextricably intertwined,” and a court
                                                           7 will not apportion costs between them. Love I, 2007 WL 2709975, at *3.
                                                           8          In this case, Perfect 10 based both its common-law and its statutory publicity
                                                           9 claims on the same allegations. See Dkt. 1 at ¶¶ 72-78. The Court rejected both
                                                          10 claims on the same basis, holding Defendants immune from them under the CDA,
                                                          11 47 U.S.C § 230. Dkt. No. 97 at 22-24.4 Because Perfect 10’s publicity claims were
                                                          12 inextricably intertwined, the Court should award Defendants all their fees on these
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                                                          13 claims as the prevailing parties.
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                                                          14                        b.    The Court Should Award Fees Defendants Incurred
                                                                                          Defending Against the Unfair Competition Law Claim
                                                          15                              to the Extent It Was Intertwined with Other Claims.
                                                          16          Attorneys’ fees are not generally recoverable under the California’s unfair
                                                          17 competition law. Walker v. Countrywide Home Loans, Inc., 98 Cal. App. 4th 1158,
                                                          18 1180 (2002) (“[W]here a plaintiff sues solely under the unfair competition law, fees
                                                          19 may not be recovered by a prevailing defendant.”). Nevertheless, “if a plaintiff
                                                          20 does not bring suit solely under the unfair competition law, the trial court has
                                                          21 discretion to apportion fees to claims not brought pursuant to that law—as long as
                                                          22 those claims authorize attorney fees awards.” Id. at 1180. Further,
                                                          23 “[a]pportionment is not required when the issues in the fee and nonfee claims are so
                                                          24 inextricably intertwined that it would be impractical or impossible to separate the
                                                          25 attorney’s time into compensable and noncompensable units.” Graciano v.
                                                          26   4
                                                               That Defendants won on the basis of preemption does not defeat their entitlement
                                                             to fees. See Lewis v. Activision Blizzard, Inc., No. C 12-1096 CW, 2014 WL
                                                          27 4953770,   at *2 (N.D. Cal. Sept. 25, 2014) (“[t]he fact that [a Section] 3344 claim
                                                          28 attorneys’ fees by
                                                             [is] preempted       federal law does not preclude an award of [Section] 3344
                                                                              to the prevailing party”).
                                                             DEFENDANTS’ NOTICE OF MOTION AND             19               Case No.: 11-cv-07098-AB (SHx)
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                                                           1 Robinson Ford Sales, Inc., 144 Cal. App. 4th 140, 159 (2006).
                                                           2         Here, Defendants have eliminated from their request 5% of all time entries
                                                           3 during the pendency of the unfair competition claim, reflecting their best estimate
                                                           4 of the approximate total amount of attorney time attributable to that claim. Bridges
                                                           5 Decl. ¶¶ 55-56. Other than these reductions, Defendants and their counsel cannot
                                                           6 segregate the work counsel performed to defend against Perfect 10’s unfair
                                                           7 competition law claim from other claims, especially from the right of publicity
                                                           8 claims which arise from similar allegations and resulted in dismissal on the same
                                                           9 basis. Compare Dkt. 1 at ¶¶ 72-78, with id. at ¶¶ 64-71; see also Dkt. 11-1 at 26-
                                                          10 32; Dkt. No. 97 at 22-24.
                                                          11         B.     The Fees and Expenses That Defendants Request Are Reasonable.
                                                          12         In determining an appropriate attorney fees award, courts employ the lodestar
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                                                          13 method. See, e.g., Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933, 1939
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                                                          14 (1983). The district court must first determine the presumptive lodestar figure by
                                                          15 multiplying the number of hours reasonably expended on the litigation by a
                                                          16 reasonable hourly rate. Id. After determining the presumptive lodestar fee, the
                                                          17 court may adjust the award either up or down using factors that are not part of the
                                                          18 lodestar determination itself, including (i) time limitations imposed by the client or
                                                          19 other circumstances; (ii) the amount at issue and the results counsel obtained; (iii)
                                                          20 the experience, reputation, and ability of the attorneys; (iv) the desirability of the
                                                          21 case; (v) the nature and length of the professional relationship with the client; and
                                                          22 (vi) awards in similar cases. Van Asdale v. Int’l Game Tech., No. 3:04-cv-00703-
                                                          23 RAM, 2011 WL 2118637, at *2 (D. Nev. May 24, 2011) (citing factors in Kerr v.
                                                          24 Screen Extras Guild, Inc., 526 F.2d 67, 69-70 (9th Cir. 1975), and explaining that
                                                          25 other factors that Kerr cited have since become part of the lodestar analysis or have
                                                          26 fallen out of favor with the Ninth Circuit).
                                                          27
                                                          28
                                                               DEFENDANTS’ NOTICE OF MOTION AND             20              Case No.: 11-cv-07098-AB (SHx)
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                                                           1                 1.     The Rates of Defendants’ Counsel Are Reasonable In Light
                                                                                    of the Nature of this Case.
                                                           2
                                                           3          Rates are reasonable if they are “in line with those prevailing in the
                                                           4 community for similar services by lawyers of reasonably comparable skill,
                                                           5 experience and reputation.” Blum v. Stenson, 465 U.S. 886, 895 n.11, 104 S. Ct.
                                                           6 1541, 1547 (1984); see also Welch v. Metropolitan Life Ins. Co., 480 F.3d 942, 946
                                                           7 (9th Cir. 2007) (holding that reasonable rates should be determined “by reference to
                                                           8 the fees that private attorneys of an ability and reputation comparable to that of
                                                           9 prevailing counsel charge their paying clients for legal work of similar
                                                          10 complexity.”) (internal citation omitted). “Generally, when determining a
                                                          11 reasonable hourly rate, the relevant community is the forum in which the district
                                                          12 court sits.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 979 (9th Cir. 2008).
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                                                          13 Justification of the rates may rest upon evidence that clients in fact pay the rates
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                                                          14 sought, attorney affidavits regarding prevailing rates in a community, other cases
                                                          15 determining the rates to be reasonable, and survey evidence regarding the fees of
                                                          16 comparable counsel. See Lakim Indus., Inc. v. Linzer Prods. Corp., No. 2:12-cv-
                                                          17 04976, 2013 WL 1767799, at *8 (C.D. Cal. Apr. 24, 2013). Here each type of
                                                          18 evidence establishes the reasonableness of Defendants’ counsel’s rates.
                                                          19          First, the ability of counsel to command a particular rate from paying clients
                                                          20 is itself evidence of reasonableness. See Moore v. Jas. H. Matthews & Co., 682
                                                          21 F.2d 830, 840 (9th Cir. 1982) (“Unless counsel is working outside his or her normal
                                                          22 area of practice, the billing-rate multiplier is, for practical reasons, usually
                                                          23 counsel’s normal billing rate.”). Here both Fenwick & West and Winston &
                                                          24 Strawn charged Giganews the standard rates for a case within the firms’ usual
                                                          25 practice areas, and Giganews paid those rates. See Bridges Decl. ¶ 15.
                                                          26          Moreover, the rates are in line with the rates that comparable law firms
                                                          27 charge. See Declaration of Peter Zeughauser ¶¶ 9-11. Mr. Zeughauser, an expert
                                                          28 regarding attorney billing rates in the Central District of California, has considered
                                                             DEFENDANTS’ NOTICE OF MOTION AND            21                Case No.: 11-cv-07098-AB (SHx)
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                                                           1 both Fenwick & West and Winston & Strawn’s respective rates in this case and
                                                           2 concluded that they are in line with prevailing rates in the community. See id. ¶¶ 1-
                                                           3 11. Given his knowledge of legal fees charged in the Central District,
                                                           4 Mr. Zeughauser’s conclusion that hourly rates Defendants paid in this case reflect
                                                           5 prices for the sort of legal work in Los Angeles establishes that those rates are
                                                           6 reasonable.
                                                           7          Moreover, a number of courts in the Central District and elsewhere have
                                                           8 recognized the reasonableness of the rates at issue. In Mattel, Inc. v. MGA Entm’t,
                                                           9 Inc., the Central District awarded fees for legal work in a complex copyright case
                                                          10 performed at rates ranging from $360 to $985 an hour. 2011 WL 3420603 at *9
                                                          11 (C.D. Cal. Aug. 4, 2011).5 Courts routinely award fee awards to both Fenwick &
                                                          12 West and Winston & Strawn based on the actual fee charged to the client,
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                                                          13 recognizing that the fees charged are reasonable for the skill level of counsel and
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                                                          14 the complexity of work performed. See, e.g., IPVX Patent Holdings, Inc. v.
                                                          15 Voxernet LLC, No. 5:13-cv-01708, 2014 WL 5795545, at *7-8 (N.D. Cal. Nov. 6,
                                                          16 2014) (awarding full fees and noting the reasonableness of Fenwick & West rates);
                                                          17 In re Rossco Holdings, Inc., No. CV-14-917-JFW, 2014 WL 2611385 (C.D. Cal.
                                                          18 May 30, 2014) (affirming conclusion of bankruptcy court that rates charged by
                                                          19 Winston & Strawn reflected reasonable rates in the Central District of California).6
                                                          20 This Court too should treat these rates as reasonable.
                                                          21          Finally, survey evidence also supports the reasonableness of the rates
                                                          22 Defendants paid. According to a survey performed by Valeo Partners, a consulting
                                                          23
                                                             5
                                                               Although the Mattel court did not specify the billing rates it awarded, Defendants
                                                          24 submit   the declaration used to support the fees request that identifies those rates and
                                                             ask the  Court to take judicial notice of that filing. Bridges Decl., Ex. 2 [Zeughauser
                                                          25 Mattel Declaration].
                                                             6
                                                               Numerous courts have also approved Fenwick’s historical rates as reasonable. See
                                                          26 Yue  v. Storage Tech Corp., No. C-07-05850 JW (EDL), 2008 U.S. Dist. LEXIS
                                                             68920,   at *13-14 (N.D. Cal. Aug. 6, 2008) adopted by 2008 U.S. Dist. LEXIS
                                                          27 68801 (N.D.    Cal. Sept. 5, 2008); Netbula v. Chordiant Software, Inc., No. 5:08-cv-
                                                             00019-JW,
                                                          28 8668-SVW CWX,Dkt. 594 (N.D. Cal. Dec. 17, 2010); Jones v. Corbis Corp., No. CV 10-
                                                                                  2011 WL 4526084 (C.D. Cal. Aug. 24, 2011).
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                                                           1 firm that monitors legal billing rates, senior partners in AmLaw 100 firms charged
                                                           2 an average of $894 per hour in 2014. See Bridges Decl. ¶ 45, Ex. 3. The rate for
                                                           3 Mr. Bridges’ time as Giganews’s lead counsel is consistent with a range that this
                                                           4 market average reflects. The Valeo survey also indicates that AmLaw 100 firms
                                                           5 charged an average of $527 per hour for associate time, which is again in line with
                                                           6 the rates that Fenwick & West charged Giganews. Because the rates charged in this
                                                           7 case are consistent with those that comparably experienced counsel in the field
                                                           8 charge, the Court should treat the rates of Defendants’ counsel as reasonable.
                                                           9                2.     Defendants’ Attorneys Worked a Reasonable Number of
                                                                                   Hours.
                                                          10
                                                          11         To determine the reasonable hours worked in winning this case, Defendants
                                                          12 began with the total hours worked and took a conservative approach, striking or
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                                                          13 reducing time entries where the work could be viewed as duplicative or took longer
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                                                          14 than one might reasonably expect. See Bridges Decl. ¶ 46. Reductions include:
                                                          15      • Removing all “write-off” or “no-charge” billing entries that counsel in
                                                          16         exercising billing discretion did not charge to the clients.
                                                          17      • Ensuring the request reflects all courtesy discounts counsel gave to the
                                                          18         clients during the course of the case.
                                                          19      • Not seeking reimbursement for the time of certain attorneys or staff members
                                                          20         who performed limited tasks on the case.
                                                          21      • Eliminating from the request all work performed by Winston & Strawn from
                                                          22         June 2012 on, in light of the fact that Mr. Bridges had moved to Fenwick &
                                                          23         West and Winston & Strawn eventually withdrew as counsel.
                                                          24      • Allocating 5% of all litigation tasks to the unfair competition claim before its
                                                          25         dismissal and excluding that amount from Defendants’ fee request. While
                                                          26         some courts might treat those general tasks as “inextricably intertwined” with
                                                          27         the other issues and therefore recoverable, Defendants have provided a more
                                                          28         conservative allocation to ensure their request does not include the work
                                                               DEFENDANTS’ NOTICE OF MOTION AND           23               Case No.: 11-cv-07098-AB (SHx)
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                                                           1          related to that claim.
                                                           2      • Striking miscellaneous other individual time entries in the judgment of
                                                           3          Defendants’ counsel to reflect a conservative approach to this request.
                                                           4 Bridges Decl. ¶¶ 46-49, 56 & Exs. 6-7. Together, these reductions total
                                                           5 $276,950.84. See id.
                                                           6          The resulting request falls within a reasonable range of the number of hours
                                                           7 that a case of this magnitude and complexity requires. As discussed above, Perfect
                                                           8 10’s intransigence and misconduct substantially increased the scope of work. There
                                                           9 have been nearly six hundred and fifty docket entries in this case. To date,
                                                          10 Defendants have prevailed (either in full or in substantial part) on twenty-six of the
                                                          11 thirty substantive motions the Court has decided (two others became moot, and two
                                                          12 remain pending). Bridges Decl. Ex. 1 [Motion Scorecard].
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                                                          13          Finally, at no point did Perfect 10 give Defendants any opportunity to
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                                                          14 conclude the litigation for less than they expended in fees. To the contrary, for
                                                          15 years Perfect 10 alleged infringements that if proven could result in well over $1
                                                          16 billion in statutory damages, but it refused to identify the actual amount it sought.
                                                          17 Only very late in the case, in expert discovery, did Perfect 10 theorize that the
                                                          18 settlement value of the case was $51,103,897. Bridges Decl. Ex. 9.
                                                          19          C.    The Court Should Also Award Reasonable Expenses.
                                                          20          The Copyright Act entitles Defendants as prevailing parties to recover their
                                                          21 full costs in addition to fees. 17 U.S.C. § 505; Twentieth Century Fox Film Corp. v.
                                                          22 Entm’t Distrib., 429 F. 3d 869, 885 (9th Cir. 2005) (Section 505 authorizes an
                                                          23 award of non-taxable costs in addition to fees). While Defendants have submitted a
                                                          24 Bill of Costs in accordance with the requirements of Local Rule 54,7 they also now
                                                          25 seek an award of their non-taxable expenses. As set forth in Mr. Bridges’
                                                          26
                                                             7
                                                               Defendants have not included in this motion any of the taxable costs identified in
                                                          27 their Bill of Costs. Nevertheless, to the extent the Clerk determines any such costs
                                                             are not taxable, Defendants request the Court award them as a part of their
                                                          28 expenses.   Dkt. 635[Application to Tax Costs].
                                                             DEFENDANTS’ NOTICE OF MOTION AND            24               Case No.: 11-cv-07098-AB (SHx)
                                                             MOTION FOR AWARD OF ATTORNEY’S
                                                               FEES AND EXPENSES
                                                          Case 2:11-cv-07098-AB-JPR Document 644 Filed 12/29/14 Page 32 of 33 Page ID
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                                                           1 declaration, counsel necessarily incurred these expenses in the course of providing
                                                           2 legal services and counsel typically bills these expenses separately to the client
                                                           3 apart from attorney hours. Bridges Decl. ¶ 59. The expenses include out-of-pocket
                                                           4 costs associated with its attorneys’ taking of deposition testimony (including
                                                           5 videotaping and transcribing the depositions and the travel expenses to attend
                                                           6 them), computerized legal research charges; courier, document production, and
                                                           7 copying costs. Id. Courts have consistently recognized these as recoverable
                                                           8 expenses. See Trustees of Constr. Indus. v. Redland Ins. Co., 460 F.3d 1253, 1258-
                                                           9 59 (9th Cir. 2006) (“growing circuit consensus” that “reasonable charges for
                                                          10 computerized research may be recovered as attorneys’ fees); Davis v. City and
                                                          11 Cnty. Of San Francisco, 976 F.2d 1536, 1556 (9th Cir. 1992) (out-of-pocket
                                                          12 expenses including the travel, courier and copying costs); Wyatt Tech. Corp. v.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 Malvern Instruments, Inc., No. CV 07-8298 ABC (RZx), 2010 U.S. Dist. LEXIS
                                          SAN FRANCISCO




                                                          14 144973, at *8–9 (N.D. Cal. June 17, 2010), aff’d, 526 Fed. Appx. 761 (9th Cir.
                                                          15 2013); Pastre v. Weber, 800 F. Supp. 1120, 1123, 1127 (S.D.N.Y. 1991)
                                                          16 (photocopying, messenger services, contract printing, travel); In re Broadcom
                                                          17 Corp. Sec. Litig., No. SACV 01-275, 2005 U.S. Dist. LEXIS 41993, at * 27-28
                                                          18 (C.D. Cal. Sept. 12, 2005) (court reporting and video in connection with
                                                          19 depositions).
                                                          20 IV.     CONCLUSION
                                                          21         In the circumstances of this extraordinary case, Defendants ask the Court to
                                                          22 grant the motion; award Defendants $6,104,372.66 in fees and $436,634.97 in
                                                          23 expenses; and set a date for Defendants to supplement their request with later fees
                                                          24 and costs for inclusion in a final award.
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                                                               DEFENDANTS’ NOTICE OF MOTION AND           25              Case No.: 11-cv-07098-AB (SHx)
                                                               MOTION FOR AWARD OF ATTORNEY’S
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                                                           1 Dated: December 29, 2014             FENWICK & WEST LLP
                                                           2
                                                           3                                      By: /s/Andrew P. Bridges
                                                                                                     Andrew P. Bridges
                                                           4
                                                                                                  Attorneys for Defendants
                                                           5                                      GIGANEWS, INC., and
                                                                                                  LIVEWIRE SERVICES, INC.
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F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




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                                                               DEFENDANTS’ NOTICE OF MOTION AND      26             Case No.: 11-cv-07098-AB (SHx)
                                                               MOTION FOR AWARD OF ATTORNEY’S
                                                               FEES AND EXPENSES
